                          Fourth Court of Appeals
                                 San Antonio, Texas
                                      JUDGMENT
                                    No. 04-23-00091-CR

                                  Eric Laranze TAYLOR,
                                         Appellant

                                             v.

                                   The STATE of Texas,
                                         Appellee

                 From the 290th Judicial District Court, Bexar County, Texas
                               Trial Court No. 2020CR3024
                          Honorable Jennifer Peña, Judge Presiding

       BEFORE JUSTICE RIOS, JUSTICE WATKINS, AND JUSTICE RODRIGUEZ

     In accordance with this court’s opinion of this date, the judgment of the trial court is
AFFIRMED.

       SIGNED August 14, 2024.


                                              _____________________________
                                              Beth Watkins, Justice
